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15   UNITED STATES OF AMERICA

16                          UNITED STATES DISTRICT COURT

17                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

18   UNITED STATES OF AMERICA,               No. MJ 20-2326

19                   Plaintiff,              STIPULATION TO MODIFY CONDITIONS
                                             OF PRETRIAL RELEASE
20             v.

21   WILLIAM SADLEIR,

22                   Defendant.

23

24        Plaintiff United States of America, by and through its counsel
25   of record, the United States Attorney for the Central District of
26   California and the Fraud Section of the United States Department of
27   Justice, and defendant WILLIAM SADLEIR (“defendant”), by and through
28   his counsel of record, Deputy Federal Public Defender Adam Olin,
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1    hereby stipulate that defendant’s conditions of pretrial release

2    should be modified to remove the condition that defendant maintain or

3    actively seek employment and provide proof to his supervising agency.

4    This stipulation is based on the following:

5         1.     Defendant was released on bond on May 22, 2020 under

6    certain conditions of pretrial release.

7         2.     One of the conditions of defendant’s release required that

8    defendant maintain or actively seek employment and that he provide

9    proof of his employment or efforts to seek employment to the

10   supervising agency.     (Dkt. 7 at 2.)

11        3.     The conditions also imposed location monitoring and

12   restricted defendant to his residence every day, with an exception

13   for medical needs or treatment, attorney visits, and court

14   appearances.    (Id. at 3-4.)    No exception was made for employment

15   purposes.

16        4.     Because defendant is restricted to his home without the

17   ability to seek employment, the parties agree that the Court should

18   modify defendant’s bond to remove the condition that he maintain

19   employment or actively seek employment.

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1         5.    United States Probation and Pretrial Services Officer

2    Nicholas Walker agrees with this proposed modification.

3     Dated: June 2, 2020                 Respectfully submitted,

4                                         NICOLA T. HANNA
                                          United States Attorney
5
                                          BRANDON D. FOX
6                                         Assistant United States Attorney
                                          Chief, Criminal Division
7

8                                            /s/
                                          ALEXANDER C.K. WYMAN
9                                         Assistant United States Attorney
                                          AMANDA R. VAUGHN
10                                        Trial Attorney
                                          Fraud Section, Criminal Division
11                                        United States Department of Justice

12                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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14   Dated: June 2, 2020                     /s/ (with email authorization)
                                          ADAM OLIN
15                                        Deputy Federal Public Defender
                                          Attorney for Defendant
16                                        WILLIAM SADLEIR

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